                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION


THOMAS MELZER
on behalf of himself and
all others similarly situated,

                Plaintiff,                                         Case No. 18-cv-1080

        v.

PRO LABEL, INC.,

                Defendant.


                         FINAL ORDER APPROVING SETTLEMENT


        WHEREAS, the Court having previously preliminarily approved the parties’ Settlement

Agreement, ECF No. 24-1, has reviewed the parties’ Joint Motion for Final Approval of Class and

Collective Action Settlement, ECF No. 34, and Plaintiff’s Motion for Approval of Award of

Attorneys’ Fees and Costs to Class Counsel, ECF No. 28, and has held a Fairness Hearing

regarding the same on January 23, 2020:

        IT IS HEREBY ORDERED:

             1. The Settlement Agreement is approved as fair, reasonable, and adequate pursuant

                to Fed. R. Civ. P. 23(e);

             2. The Settlement Agreement represents a fair and reasonable resolution of a bona

                fide dispute under the Fair Labor Standards Act;

             3. The Settlement Agreement is declared binding on Thomas Melzer, all of the Rule

                23 Class Members who have not timely excluded themselves from the Settlement

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                 Agreement (“Class Members”), and the FLSA Collective Members who have

                 timely consented to join the Settlement Agreement (“Collective Members”);

              4. The settlement payments to all Class Members and Collective Members are

                 approved;

              5. Melzer’s Enhancement Payment set forth in the Settlement Agreement is fair and

                 reasonable and is approved;

              6. Class Counsel’s requested award of attorneys’ fees in the amount of $83,333.33

                 and costs in the amount of $500.00 is fair and reasonable and is therefore approved;

              7. The released claims of Thomas Melzer, Class Members and Collective Members

                 against the Pro Label Released Parties, as that term is defined in the Settlement

                 Agreement, are deemed dismissed with prejudice; and

              8. This case is hereby dismissed on the merits with prejudice.

              Dated this 23rd day of January, 2020.

                                                              s/William C. Griesbach
                                                              William C. Griesbach, Chief Judge
                                                              United States District Court
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